             Case: 1:08-cv-00188-DCN Doc #: 1-2 Filed: 01/22/08 1 of 2. PageID #: 11




~
"'....
                                          ...~
                                          ~


                             .   ~~0;
                                  r- \.,,~
                                      4


                                 ,
                                     )~                 ,
                                                             #                        ./1.


         l                                                       J               ..


                            j
         11
                                                                                        1
                                                                             pi<
         j                                                                 .-'


         ._/




                                                                           EXHIBIT


                                                                      j ---fL--              I
ase: 1:08-cv-00188-DCN Doc #: 1-2 Filed: 01/22/08 2 of 2. PageID #: 1
                                                                   ,"iI"",
                                                                       -




                        The6.;n-1HandyTiny Multi-Tool
                            This lightest, most compact

         ""
             '




                    -   .    multi-tool ever developed!
                            K,n' ita       Btade        '




          . Serra:
             .


         ,          ,


        ill
         ,


                  t Gel Outting
                              ",
        ,,
        '         ,,                               ,,




        [        '. .




        l,1 SUrface                ,
                                       ,




        Ij1
        .,


                        ,.M,icro..Sized
                          PIIIII'p.Screw
                            Driver
                        . SCrew
                          EyeglasS
                            Dtiver

                                                            . .'1F1BtSCrew
                                                             Driver
                                             ._,
                                                            . Bottle Opener
